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  Exhibit D
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                                 Declaration of Dr. Sarah C. Bishop
            Risks for Non-Salvadoran Actors Facing Third Country Removal to El Salvador


                                                   Introduction

   1.    I am writing this expert witness report to address human rights abuses in Salvadoran prisons. I am
         a full professor with tenure at Baruch College, the City University of New York. I was the 2020-
         2021 Fulbright Scholar to El Salvador during which time I lived and conducted fieldwork in the
         country; I have since returned to El Salvador each year for fieldwork related to both published and
         in-process projects about the State of Exception, human rights abuses by state actors, gang
         activity, and prison conditions.

   2.    Deportees who are imprisoned in El Salvador are highly likely to face immediate and intentional
         life-threatening harm at the hands of state actors and a secondary threat of violence from
         incarcerated gang members.

                                               Expert Qualifications

   3.    I was the 2020/2021 Fulbright scholar to El Salvador, during which time I lived and worked in the
         Department of La Libertad consulting with local academics and non-profit personnel to develop a
         project that chronicles the experiences of individuals affected by gang-, government-, and
         domestic-based violence, as well as the professional and psychological outcomes for deportees. I
         have interviewed multiple people who have been deported back to El Salvador after failed asylum
         claims and have also interviewed personnel from non-profit organizations working to support
         individuals who had been deported by the United States or by another government.

   4.    I have published three books on the experiences of refugees and undocumented immigrants in the
         United States. In 2022, Columbia University Press published my book A Story to Save Your Life:
         Communication and Culture in Migrants’ Search for Asylum. The book won the Abraham Brilloff
         Prize in Ethics and the Oral History Association’s Best Book Award in 2023. My book
         Undocumented Storytellers: Narrating the Immigrant Rights Movement was published by Oxford
         University Press in 2019 and was the winner of the Best Book Award from the American Studies
         Division of the National Communication Association. U.S. Media and Migration: Refugee Oral
         Histories was published by Routledge in 2016 and won the Sue DeWine Distinguished Scholarly
         Book Award.

   5.    I am a migration scholar with a Ph.D. in Intercultural Communication from the University of
         Pittsburgh (2014). My dissertation was an oral history project analyzing the push factors and
         migration experiences of 74 refugees living in the United States. I received an M.A. from New
         York University in 2009 in Media, Culture, and Communication during which I took classes such
         as “Refugees and IDPs: Protection and Practice.” I received a B.A. from the University of Akron
         in 2008.

   6.    I have published numerous articles in peer-reviewed academic journals on the experiences of
         forced migrants from Central America, including most recently “Hidden in Plain Sight: The
         In/Visbility of Human Rights in El Salvador’s Prisons Under the State of Exception” coauthored
         with Salvadoran expert Dr. Mneesha Gellmen and forthcoming in Latin American Research

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         Review in 2025; “Beyond the Glowing Headlines: Social Science Analysis of the State of
         Exception in El Salvador,” Columbia Regional Expert Series, coauthored with Salvadoran experts
         Dr. Tom Boerman and Dr. Tommie Sue Montgomery in 2023; “An Illusion of Control: How El
         Salvador’s President Rhetorically Inflates His Ability to Quell Violence,” published in Journalism
         and Media in 2023; “‘What Does a Torture Survivor Look Like?’: Nonverbal Communication in
         Asylum Interviews and Hearings,” published in the Journal of International & Intercultural
         Communication in 2021; “Intercultural Communication, the Influence of Trauma, and the Pursuit
         of Asylum in the United States,” published in the Journal of Ethnic and Cultural Studies in 2021;
         “An International Analysis of Governmental Media Campaigns to Deter Asylum Seekers,”
         published in the International Journal of Communication in 2020. All of my books and the articles
         I have published in academic journals have been subject to peer review by other experts.

   7.    I regularly give talks about country conditions in El Salvador and the root causes of forced
         migration, including “Violence for Peace: Authoritarian Justifications of Human Rights Abuses in
         Central America,” to be presented at the Anthropology of Peace, Conflict, and Security
         Conference in June 2025; “Intergovernmental Criminal History Information Sharing: Justice on
         Paper, Violence in Practice for Forced Migrants,” presented at the Marxe School for International
         Affairs in March 2025; “Populism, Rhetorical Strategy, and the Regression of Democracy in
         Central America,” presented at Cristosal in San Salvador in February 2023; “Addressing
         Misinformation and Distortion of Statistics in Country Conditions Research,” presented at the
         International Studies Association in November 2024; “An Illusion of Control: How El Salvador’s
         President Rhetorically Inflates His Ability to Quell Violence,” presented at the annual meeting of
         the American Sociological Association in August 2022; “Health and Safety in El Salvador,”
         presented at the Fulbright Pre-departure Orientations in June 2022, June 2023, and June 2024; and
         “The Returned: Communication and Culture in the Post-Deportation Lives of Former Asylum
         Seekers from El Salvador,” presented at the annual meeting of the International Association for the
         Study of Forced Migration in July 2021.

   8.    I have received several competitive grants for my research on El Salvador, including a 2025 grant
         from the American Council of Learned Societies (ACLS) and a 2024 grant from the Waterhouse
         Family Institute to study post-deportation experiences in El Salvador through a family
         communication approach; a 2022-2023 PSC CUNY Grant for research that documents post-
         deportation harm in El Salvador; a 2022 grant from the Robert Bosch Stiftung Foundation to travel
         to El Salvador and meet with investigative journalists and human rights activists for a project
         about President Nayib Bukele’s recent actions against independent media; and a 2018 fellowship
         from the Institute for the Study of Human Rights at Columbia University to study obstacles to
         human rights and efforts to promote peace in post-conflict societies including El Salvador.

   9.    I remain current on events in El Salvador through regularly reading local, national, and
         international sources including academic and government studies and investigative journalism
         studies, through frequent conversations with colleagues in the U.S. and El Salvador, and by
         presenting my research on El Salvador at national and international academic conferences.

   10.   At Baruch College, I teach classes on migration to the United States and global communication in
         the Department of Communication Studies, the Macaulay Honors College, and the Masters in
         International Affairs. I am affiliate faculty in the Department of Black and Latino Studies.




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    11.   My migration research has been recognized for being ethical and applied to real-world contexts: I
          won the Abraham J. Briloff Prize in Ethics in 2017 and 2023, and the Stanley L. Saxton Applied
          Research Award in 2018. Moreover, in keeping with the New York State Ethics Commission
          Reform Act of 2022, I undergo annual ethics training at CUNY.

    12.   Methodologically, I rely on oral history, ethnography, critical-cultural analysis of governmental
          communication, and qualitative comparative analysis to conduct my research about country
          conditions in El Salvador. These are standard and widely used social science methodologies. At
          Baruch, I am responsible for teaching a graduate level required course on qualitative methods in
          which I train master’s level students in these methods.

    13.   In 2025 I received $75,000 from the Russell Sage Foundation to continue the project “Recovering
          the Visibility of Post-Deportation Experiences in El Salvador: A Family Communication
          Approach” for the years 2025-2027 to involve additional participants who have family members
          who have been deported under the State of Exception.

                     Democratic Erosion and Governmental Corruption in El Salvador

    14.   El Salvador is experiencing a severe democratic decline that threatens the human rights and
          general safety of the whole population. The 2023 U.S. State Department’s Human Rights Reports
          on El Salvador cites “credible reports of: unlawful or arbitrary killings; enforced disappearance;
          torture or cruel, inhuman, or degrading treatment or punishment by security forces; harsh and life-
          threatening prison conditions; arbitrary arrest or detention; serious problems with the
          independence of the judiciary; arbitrary or unlawful interference with privacy; extensive gender-
          based violence, including domestic and sexual violence, and femicide; substantial barriers to
          sexual and reproductive health services access; trafficking in persons, including forced labor; and
          crimes involving violence targeting lesbian, gay, bisexual, transgender, queer, or intersex
          persons.” 1

    15.   President Bukele was discovered through meticulously documented reporting by investigative
          journalists working for El Faro in 2020 to have been negotiating with imprisoned gang leaders
          who reportedly agreed to a reduction in homicides and electoral support in exchange for additional
          prison privileges and other benefits for incarcerated gang members. 2 During the weekend of
          March 25, 2022 there was a record-setting string of around eighty-seven gang-committed
          homicides across El Salvador that resulted from the unraveling of that secret pact between Bukele
          and the gangs in what MS-13 called a “betrayal” of Bukele’s loyalty. The Monday following the
          homicides, Bukele successfully called on the Salvadoran Legislative Assembly to pass a State of
          Exception, which suspends many constitutional protections including due process, drastically
          increases police and military powers to arrest and imprison suspected gang members, and curtails
          the right to legal defense.




1
  “El Salvador 2023 Human Rights Report.” US Department of State. https://www.state.gov/reports/2023-country-reports-on-
human-rights-practices/el-salvador/ p 1.
2
  Carlos Martínez, Óscar Martínez, Sergio Arauz, and Efren Lemus. “Bukele has been negotiating with MS-13 for a reduction in
homicides and electoral support.” El Faro. 6 September 2020. https://elfaro net/en/202009/el_salvador/24785/Bukele-Has-Been-
Negotiating-with-MS-13-for-a-Reduction-in-Homicides-and-Electoral-Support.htm

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    16.   As a result of the government’s actions under the current State of Exception, El Salvador currently
          has the highest incarceration rate in the world. 3

    17.   Salvadoran Vice President Félix Ullóa revealed plainly to the New York Times, “To these people
          who say democracy is being dismantled, my answer is yes — we are not dismantling it, we are
          eliminating it, we are replacing it with something new.” 4 The politicized use of all three branches
          of government to enact and extend the power of the State of Exception disallows any guarantee of
          justice for Salvadorans against whom the State has acted.

    18.   The government of El Salvador claims that it has been effective at establishing peace in the
          country. Americas director at Amnesty International Ana Piquer explained in December 2024,
          “What the government calls ‘peace’ is actually an illusion intended to hide a repressive system, a
          structure of control and oppression that abuses its power and disregards the rights of those who
          were already invisible—people living in poverty, under state stigma, and marginalization—all in
          the name of a supposed security defined in a very narrow way.” 5

    19.   Bukele’s director of prisons, Osiris Luna Meza, was indicted by the United States Federal
          Government for arranging meetings in prison for negotiations with MS-13. 6 As the U.S. Treasury
          Department reveals, “Osiris Luna Meza (Luna) and Carlos Amilcar Marroquin Chica (Marroquin)
          [chairman of Bukele’s Social Fabric Reconstruction Unit] led, facilitated, and organized a number
          of secret meetings involving incarcerated gang leaders, in which known gang members were
          allowed to enter the prison facilities and meet with senior gang leadership. These meetings were
          part of the Government of El Salvador’s efforts to negotiate a secret truce with gang leadership.” 7
          Luna has also been deemed corrupt by the U.S. Department of Treasury for developing a scheme
          with another senior Bukele official to embezzle millions of dollars from the prison commissary
          system. 8




3
  “El Salvador Opens 40,000-Person Prison as Arrests Soar in Gang Crackdown.” Reuters. 1 February 2023.
https://www.reuters.com/world/americas/el-salvador-opens-40000-person-prison-arrests-soar-gang-crackdown-2023-02-
01/#:~:text=SAN%20SALVADOR%2C%20Feb%201%20(Reuters,the%20prison%20population%20to%20soar.
4
  Natalie Kitroeff. “He Cracked Down on Gangs and Rights. Now He’s Set to Win a Landslide.” New York Times. 2 February
2024. https://www.nytimes.com/2024/02/02/world/americas/el-salvador-bukele-election html
5
  “El Salvador: A thousand days into the state of emergency. ‘Security’ at the expense of human rights.” Amnesty International.
20 December 2024. https://www.amnesty.org/en/latest/news/2024/12/el-salvador-mil-dias-regimen-excepcion-modelo-
seguridad-a-costa-derechos-humanos/
6
  United States District Court. Eastern District of New York. Paragraph 35. chrome-
extension://efaidnbmnnnibpcajpcglclefindmkaj/https://www.justice.gov/usao-edny/press-release/file/1569726/download
7
  “Treasury Targets Corruption Networks Linked to Transnational Organized Crime.” U.S. Treasury Department. 8 December
2021. https://home.treasury.gov/news/press-releases/jy0519
8
  “Treasury Targets Corruption Networks Linked to Transnational Organized Crime.” U.S. Department of the Treasury. 8
December 2021. https://home.treasury.gov/news/press-releases/jy0519

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    20.   In multiple recent documented cases, the Salvadoran government has falsified records, ignored
          international human rights laws, and detained and prosecuted individuals without evidence to
          support the ongoing expansion of the State of Exception and indiscriminately punish those who
          resist or oppose it. As described by Human Rights Watch, “In many cases, detentions appear to be
          based on the appearance and social background of the detainees, or on questionable evidence, such
          as anonymous calls and uncorroborated allegations on social media. In these cases, police and
          soldiers did not show people a search or arrest warrant, and rarely informed them or their families
          of the reasons for their arrest. A mother who witnessed the detention of her son said that police
          officers told her, ‘We can arrest anyone we want.’” 9

                                         General Living Conditions in Prison

    21.   The 2023 U.S. State Department Human Rights Report on El Salvador emphasizes that “Prison
          conditions before the state of exception were harsh and life threatening …The addition of 72,000
          detainees under the state of exception exacerbated the problem.” 10 Rather than merely being a
          result of overcrowding, the same U.S. State Department report cites testimonies from released
          prisoners that show that the life threatening nature of the prison is a result of “systemic abuse in
          the prison system, including beatings by guards and the use of electric shocks.” 11

    22.   Salvadoran government officials have directly stated that the dangerous and unsanitary conditions
          for prisoners taken into custody during the State of Exception are being created intentionally: for
          example, the U.S. State Department notes that “From the start of the state of exception, the government
          frequently advertised on social media the overcrowded conditions and lack of adequate food in the
          prisons as appropriate treatment for gang members.” 12 The Directorate General of Penal Centers
          advertised: “All the suffering these bastards have inflicted on the population, we will make happen
          to them in the prisons, and we will be very forceful with this. They live without the light of the sun,
          the food is rationed… they sleep on the floor because that is what they deserve.” 13 Paradoxically,
          this was the same director who was indicted by the United States Federal Government for arranging
          meetings in prison for negotiations with MS-13, 14 and who has been deemed corrupt by the U.S.
          Department of Treasury for developing a scheme with another senior Bukele official to embezzle
          millions of dollars from the prison commissary system, emphasizing the scope of corruption
          common in prison leadership. 15

    23.   In response to international human rights organizations that have raised the alarm about current
          conditions in El Salvador, President Bukele tweeted “Let all the ‘human rights’ NGOs know that
          we are going to destroy these damn murderers and their collaborators, we will throw them in

9
  Human Rights Watch and Cristosal. “We Can Arrest Anyone We Want”: Widespread Human Rights Violations Under El
Salvador’s “State of Emergency.” 7 December 2022, https://www.hrw.org/report/2022/12/07/we-can-arrest-anyone-we-
want/widespread-human-rights-violations-under-el
10
   “El Salvador 2023 Human Rights Report.” US Department of State. https://www.state.gov/reports/2023-country-reports-on-
human-rights-practices/el-salvador/ p 7, emphasis added
11
   Ibid., p 5.
12
   “El Salvador 2022 Human Rights Report.” https://www.state.gov/reports/2022-country-reports-on-human-rights-practices/el-
salvador/ p 6.
13
   Cited in Amnesty International. “Behind the veil of popularity: Repression and regression of human rights in El Salvador.” 5
December 2023. https://www.amnesty.org/en/latest/news/2023/12/el-salvador-policies-practices-legislation-violate-human-
rights/ p 34.
14
   United States District Court. Eastern District of New York. Paragraph 35. chrome-
extension://efaidnbmnnnibpcajpcglclefindmkaj/https://www.justice.gov/usao-edny/press-release/file/1569726/download
15
   “Treasury Targets Corruption Networks Linked to Transnational Organized Crime.” U.S. Department of the Treasury. 8
December 2021. https://home.treasury.gov/news/press-releases/jy0519

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           prison and they will never get out. We don’t care about their pitying reports, their prepaid
           journalists, their puppet politicians, nor their famous ‘international community’ that never cared
           about our people.” 16

     24.   El Salvador’s Public Security Minister has confirmed the plan not to release prisoners and claimed
           that there are 40,000 serial killers in El Salvador. He stated in an interview with CNN in 2024:
           “Someone who every day killed people, every day raped our girls, how can you change their
           minds? We are not stupid…In the US, imagine a serial killer in your state, in your community
           being released by a judge … how would you feel as a citizen? We don’t have facts that someone
           can change a mind from a serial killer … and we have more than 40,000 serial killers in El
           Salvador.” 17

     25.   In October 2021 the Salvadoran government declared that information relating to all detained
           persons would be considered confidential; over 325 complains to the Interamerican Commission
           on Human Rights show that when family members have requested information about their
           detained loved ones, “authorities either refused or provided false information about their
           whereabouts.” 18 In a sample of 131 cases, Cristosal found that 115 family members of detainees
           have not received any information about the whereabouts or wellbeing of their detained family
           members since the day of their capture. 19

     26.   During my January 2024 visit to El Salvador, I visited Mariona prison where many informal
           vendors were set up outside the prison gates selling packets of food, medicine, soap, and clothing
           to individuals with detained family members. Family members can seek to protect their detained
           relatives from illness or starvation in prison if their family is able to purchase these expensive
           packets, which cost $100-$300 per month although the national minimum monthly wage is only
           $365. 20 However, even families who can afford these packets have no assurance that the resources
           they try to send will ever reach their loved ones inside the prison; there are reports of prison
           officials deliberately withholding medicine and food even when it is available, 21 and reports of
           guards forcing women to do sexual acts in exchange for food and medicine. 22




16
   Nayib Bukele. 16 May 2023. https://x.com/nayibbukele/status/1658608915683201030?s=20
17
   David Culver, Abel Alvarado, and Evelio Contreras. “Exclusive: Locking eyes with mass murderers in El Salvador.” 13
November 2024 https://www.cnn.com/2024/11/06/americas/el-salvador-inside-cecot-prison/index html
18
   Amnesty International. “Behind the veil of popularity: Repression and regression of human rights in El Salvador.” 5 December
2023. https://www.amnesty.org/en/latest/news/2023/12/el-salvador-policies-practices-legislation-violate-human-rights/ p 29.
19
   Noah Bullock. “The State of Exception in El Salvador: Taking Stock.” Testimony before the United States Congress, Tom
Lantos Human Rights Commission. 10 December 2024. https://www.youtube.com/watch?v=ChTW-gm-5SI
20
   Mneesha Gellman. “El Salvador voters set to trade democracy for promise of security in presidential election.” The
Conversation. 29 January 2024. https://theconversation.com/el-salvador-voters-set-to-trade-democracy-for-promise-of-security-
in-presidential-election-221092
21
   “Testimonios: Sobrevivientes de las Cárceles del Régimen.” A weekly series from El Faro.
https://especiales.elfaro net/es/testimonios/
22
   “El Silencio no es opción: Investigación sobre las practices de tortura, muerte, y justicia fallida el el regimen de excepción.” 10
July 2024. Cristosal Foundation. https://cristosal.org/ES/presentacion-informe-el-silencio-no-es-opcion/

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     27.   A 2024 Report on the Violation of the Right to Health in the Country’s Penal Centers from the
           Human and Community Rights Defense Unit (UNIDEHC) found that upon arrival in prison,
           detainees under the State of Exception “were received by guards, where many of them were beaten
           to pressure them to declare which ‘gang they belonged to,’ and if they refused to say so, they were
           beaten and tortured more, some convulsed from the beatings they received and others died in these
           practices, on the first day of transfer.” 23 In February 2025, the spokesperson for the organization
           who produced this report was arbitrarily detained during a raid on the organization’s headquarters;
           Amnesty International concluded his detention was “particularly concerning, as he has been both a
           witness to and a denouncer of torture in penitentiary centers.” 24

     28.   The Human and Community Rights Defense Unit (UNIDEHC) also reported in 2024 after a round
           of interviews with a health professional who worked in a clinic that served some inmates from
           Mariona prison that inmates were “not provided with medication to treat their diseases that they
           already suffered from; for example: people with hypertension, diabetes, kidney failure, respiratory
           problems, among others. They did not receive medication, which caused decompensation and
           death in some cases. Guards were repeatedly asked for help when someone convulsed or felt ill,
           but they did not arrive until the following day, or the person’s health became more complicated or
           they died, waiting for help from the prison authorities.” 25

     29.   Both the 2022 and 2023 U.S. State Department’s Human Rights Report on El Salvador state that
           prison officials repeatedly denied access to the Salvadoran Human Rights Ombudsman’s Office,
           the entity responsible for investigating accusations of human rights abuses in prison. 26

     30.   In 2023, Bukele announced the opening of the new “mega-prison” called the Centro de
           Confinamiento del Terrorismo or CECOT. An analysis of the CECOT’s design using satellite
           footage found that if the prison were to reach full supposed capacity of forty thousand, each
           prisoner would have less than two feet of space in shared cells—an amount the authors point out is
           less than half the space required for transporting midsized cattle under EU law. 27

     31.   The U.S. State Department confirms that prisoners have been held in grossly overcrowded prisons
           with as many as 80 prisoners held in cells designed for just 12 so that they must sleep standing
           up. 28

                            Systemic Torture as State Policy in Salvadoran Prisons

     32.   Although El Salvador is a signatory to both the Convention Against Torture and the International
           Covenant on Civil and Political Rights, Amnesty International has concluded that there is a


23
   Human and Community Rights Defense Unit (UNIDEHC). Violation of the Right to Health in the Country’s Penal Centers.
2024. https://heyzine.com/flip-book/9849749093.html#page/1 p 17.
24
   “El Salvador: Repression against human rights defenders and community leaders.” Amnesty International 5 March 2025.
https://www.amnesty.org/en/documents/amr29/9100/2025/en/
25
   Human and Community Rights Defense Unit (UNIDEHC). Violation of the Right to Health in the Country’s Penal Centers.
2024. https://heyzine.com/flip-book/9849749093.html#page/1
26
   “El Salvador 2022 Human Rights Report.” U.S. Department of State. https://www.state.gov/reports/2022-country-reports-on-
human-rights-practices/el-salvador/ p 4.
27
   Christine Murray, and Alan Smith.. “Inside El Salvador’s mega-prison: the jail giving inmates less space than livestock.”
Financial Times, 6 March 2023. https://www.ft.com/content/d05a1b0a-f444-4337-99d2-84d9f0b59f95.
28
   “El Salvador 2022 Human Rights Report.” U.S. Department of State. https://www.state.gov/reports/2022-country-reports-on-
human-rights-practices/el-salvador/ p 6.

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           “systemic use of torture in Salvadoran prisons.” 29 The organization notes with concern the three
           primary characteristics of the crisis: “1) the massive number of human rights violations being
           committed; 2) the high degree of state coordination in the design and implementation of this
           measure; and 3) a state response that tends to conceal and minimize these actions, refusing to
           recognize and diligently investigate the abuses.” 30 They confirm that “torture and cruel, inhuman,
           and degrading treatment have become habitual practice rather than isolated incidents in the
           prisons.” 31

     33.   The range of violence occurring inside prisons in El Salvador at the hands of gangs and prison
           guards is acknowledged in the 2022 and 2023 U.S. State Department’s Human Rights Reports on
           El Salvador; detainees are subject to beatings, waterboarding, and use implements of torture on
           detainees’ fingers to try to force confessions of gang affiliation. 32 Likewise, family members of the
           detained have been threatened with arrest by security forces to “stop asking questions.” 33

     34.   A July 2024 report from Cristosal—compiled from 3,643 reports of abuses or rights violations,
           110 interviews, case-by-case analyses of 7,742 detainees’ experiences—concluded that “Torture
           has become a state policy, with cruel and inhuman treatment regularly practices in prisons and
           places of detention.” 34

     35.   Human Rights Watch conducted 90 interviews about human rights abuses under the State of
           Exception and published in July 2023 evidence of torture including suffocation, burning, and
           mock executions against children. 35 The report also found that authorities use abusive language
           and death threats when making arrests of children who are subjected to human rights violations
           before, during, and even after their release, and that “In many cases, authorities coerced children
           into making false confessions to crimes through a combination of abusive plea deals and
           sometimes mistreatment or torture.” 36

     36.   An extensive December 2022 investigative report by Human Rights Watch and Cristosal about the
           State of Exception found that “human rights violations were not isolated incidents by rogue agents.
           Rather, similar violations were carried out repeatedly and across the country, throughout a period
           of several months, by both the military and the police.” 37


29
   Amnesty International. “Behind the veil of popularity: Repression and regression of human rights in El Salvador.” 5 December
2023. https://www.amnesty.org/en/latest/news/2023/12/el-salvador-policies-practices-legislation-violate-human-rights/
30
   Ibid.
31
   Amnesty International. “Behind the veil of popularity: Repression and regression of human rights in El Salvador.” 5 December
2023. https://www.amnesty.org/en/latest/news/2023/12/el-salvador-policies-practices-legislation-violate-human-rights/ p 33.
32
   “El Salvador 2022 Human Rights Report.” U.S. Department of State. https://www.state.gov/reports/2022-country-reports-on-
human-rights-practices/el-salvador/ p 5; “El Salvador 2023 Human Rights Report.” US Department of State.
https://www.state.gov/reports/2023-country-reports-on-human-rights-practices/el-salvador/ p 2, 15.
33
   Ibid.
34
   “El Silencio no es opción: Investigación sobre las practices de tortura, muerte, y justicia fallida el el regimen de excepción.” 10
July 2024. Cristosal Foundation. https://cristosal.org/ES/presentacion-informe-el-silencio-no-es-opcion/
35
   Human Rights Watch. “Your Child Does Not Exist Here: Human Rights Abuses Against Children Under El Salvador’s ‘State
of Emergency.’” 16 July 2024. https://www.hrw.org/report/2024/07/16/your-child-does-not-exist-here/human-rights-abuses-
against-children-under-el
36
   Ibid. p 2.
37
   Human Rights Watch and Cristosal. “We Can Arrest Anyone We Want”: Widespread Human Rights Violations Under El
Salvador’s “State of Emergency.” 7 December 2022, https://www.hrw.org/report/2022/12/07/we-can-arrest-anyone-we-
want/widespread-human-rights-violations-under-el; The Minister of Security is determined to see the number of arrests rise. See:
Mario Gonzalez. “Security Minister wants to imprison 80,000 gang members.” El Diario de Hoy. 17 June 2022.
https://www.elsalvador.com/noticias/nacional/regimen-de-excepcion-ministro-gustavo-villatoro/968181/2022/

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     37.   In some cases, many inmates are punished if one does not obey the guards’ orders. UNIDEHC
           found in an interview with a health professional who had worked at Mariona prison, “In some
           cells, when an order of the guards or person was not obeyed, they were punished, some examples
           are: wetting all the people in the cell including their belongings with high-pressure hoses with ice
           cold water, invading the cell with tear gas; electric shocks, beatings with objects, confinement in
           the ‘punishment cell,’ where there were insects and animals (cockroaches, scorpions and
           mice)…[and] to deprive the right to food, use of the bathroom, and going out in the sunlight, for
           many days.” 38

     38.   Amnesty International confirms that “the grave human rights violations being committed under the
           state of emergency are systematic in nature due to the widespread and sustained manner in which
           they are occurring; the level of state organization and planning involving the convergence of the
           three branches of the state; the impunity and lack of accountability; the lack of transparency and
           access to information; and the widespread criminalization of poverty, as an aspect of
           discrimination.” 39 This is not a matter of isolated acts of violence and torture but rather a
           coordinated dismantling of the rule of law and widespread practice of grave violations of human
           rights as the current norm.

     39.   A team of investigative journalists working to produce a report of human rights abuses under the
           State of Exception for an Al Jazeera documentary shared with me during my visit to El Salvador
           in early 2023 their preliminary findings, including an interview with an adolescent who had been
           released from Izalco prison who reported that there were daily beatings in prison, that “the guards
           would ignore people’s requests for medical attention,” that “guards would beat someone [un]til
           they were dead and then bring the body back into the cells and leave it there until the body started
           stinking,” that food rations were so meager that they sometimes had to split one hard-boiled egg
           between two people for a meal, and that “usually the gang members in the cells would bully
           weaker people for their food.” Former inmates revealed that tear gassing in the overcrowded
           prisons were so frequent that detainees would reserve one of the three small cups of water they
           usually received each day to flush their eyes after being gassed. 40

     40.   Because the Salvadoran government has been actively attempting to conceal the human rights
           abuses occurring in prison, a team of investigative journalists at El Faro has been recording and
           publish weekly testimonies of individuals who survived incarceration under the State of
           Exception. These testimonies corroborate the reports cited above by confirming widespread torture
           including public beatings to death in front of other inmates, the deliberate withholding of medicine
           from sick inmates that has resulted in the need for appendages to be amputated, officials throwing
           prisoners’ food on the ground so that inmates must lick the floor to survive, and guards knowing
           about but failing to take action to prevent some inmates from raping other inmates. 41

     41.   Further testimonies gathered and published by the newspaper El Pais reveal practices such as
           prison officials in Izalco prison hosing down the floor of an overcrowded cell with water then
38
   Human and Community Rights Defense Unit (UNIDEHC). Violation of the Right to Health in the Country’s Penal Centers.
2024. https://heyzine.com/flip-book/9849749093.html#page/1 p 18.
39
   “El Salvador: One year into state of emergency, authorities are systematically committing human rights violations.” Amnesty
International. 3 April 2023. https://www.amnesty.org/en/latest/news/2023/04/el-salvador-state-emergency-systematic-human-
rights-violations/
40
   Mark Scialla, Salvadoran-based investigative journalist and director of documentary on human rights abuses under the State of
Exception for Al Jazeera “Fault Lines.” 28 February 2023, via message to Sarah Bishop.
41
   “Testimonios: Sobrevivientes de las Cárceles del Régimen.” A weekly series from El Faro.
https://especiales.elfaro net/es/testimonios/

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           sending an electric current through the water to shock everyone inside, guards responding to
           inmates’ pleas for medicine or food with beatings (sometimes to the point of death), and state
           officials’ explicit threats to murder inmates and fabricate justifications, such as “I can shoot you
           right now and say you wanted to escape.” 42

     42.   El Salvador’s government has repeatedly been accused of committing crimes against humanity.
           Zaria Navas, former Inspector General for the Salvadoran National Police and now head of
           Cristosal’s Law and Security program, declared in June 2023 that due to the systemic and
           widespread human rights abuses committed during the State of Exception: “There is enough
           evidence for El Salvador to be tried for crimes against humanity.” 43 Likewise, in July 2023,
           former Salvadoran Human Rights Ombudsman David Morales equated the abuses occurring in the
           prisons under the State of Exception with the 1932 genocide against the country’s indigenous
           population and the atrocities committed during El Salvador’s 1980-1992 civil war; like Navas, he
           described the government’s actions as crimes against humanity. 44 More recently, in December
           2024, Leonor Arteaga from the Due Process of Law Foundation concluded, “it is also likely that
           some of the torture enforced disappearances and extrajudicial executions that have been
           documented may constitute crimes against humanity which implies the existence of a plan or a
           policy to commit them involving a chain of command of government actors in El Salvador.” 45

                                                     Deaths in Prison

     43.   The deaths of around 375 incarcerated individuals since the start of the State of Exception have
           been recorded so far, but the human rights nongovernmental organization (NGO) Socorro Jurídico
           Humanitario that the actual number of deaths may exceed 1000 because of an estimated minimum
           of fifteen deaths per month that are not reported. 46

     44.   In a sample of 100 cases of prison deaths that occurred during the first year of the State of
           Exception and for which a cause of death could be determined, Cristosal found through
           photographic, forensic, and testimonial evidence that 75% of the deaths were violent, probably
           violent, or with suspicions of criminality on account of a common pattern of hematomas caused by
           beatings, sharp object wounds, and signs of strangulation on the cadavers examined. 47 Others have
           died due to being denied medical care. 48



42
   David Marcial Pérez. “The rampant abuse in El Salvador’s prisons: ‘They beat him to death in the cell and dragged him out
like an animal’.” El Pais. 26 March 2023. https://english.elpais.com/international/2023-03-26/the-rampant-abuse-in-el-salvadors-
prisons-they-beat-him-to-death-in-the-cell-and-dragged-him-out-like-an-animal html
43
   Julia Gavarrete. “There is Enough Evidence for El Salvador to be Tried for Crimes Against Humanity.” El Faro. 7 June 2023.
https://elfaro net/en/202306/el_salvador/26881/there-is-enough-evidence-for-el-salvador-to-be-tried-for-crimes-against-
humanity#
44
   Lissette Lemus. “David Morales: Los Crímenes que está Cometiendo el Gobierno Actual son de Lesa Humanidad.” El
Salvador.com. 16 July 2023. https://www.elsalvador.com/noticias/nacional/capturados-cristosal-regimen-de-excepcion-
breaking-news/1076092/2023/
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   Leonor Arteaga. “The State of Exception in El Salvador: Taking Stock.” Testimony before the United States Congress, Tom
Lantos Human Rights Commission. 10 December 2024. https://www.youtube.com/watch?v=ChTW-gm-5SI
46
   Socorro Jurídico Humanitario (Humanitarian Legal Aid). 16 March 2025.
https://x.com/SJHumanitario/status/1901454047162372257
47
   Cristosal (2023). One Year Under State of Exception: A Permanent Measure of Repression and Human Rights Violations.
https://cristosal.org/EN/wp-content/uploads/2023/08/One-year-under-the-state-of-exception-1.pdf. Page 29.
48
   David Bernal. “Socorro Jurídico ya contabiliza 235 reos muertos bajo régimen de excepción en El Salvador.” 24 February
2024. La Prensa Grafica. https://www.laprensagrafica.com/elsalvador/Socorro-Juridico-ya-contabiliza-235-reos-muertos-en-
regimen-20240223-0089.html

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   45.    The actual number of deaths is impossible to confirm because of the government’s opacity on the
          matter. 49 Noah Bullock, the director of Cristosal, explains, “Our investigations demonstrate a clear
          pattern of torture within the prisons and so we don’t discount that the number of people who have
          died in the State of Emergency could be much higher.” 50 The Salvadoran state maintains that all
          prison deaths have been the result of natural causes despite forensic evidence to the contrary. 51

   46.    The known death rate in Salvadoran prisons is around 70 times greater than the international
          violent death according to the United Nations’ 2024 Global Prison Population report. 52

   47.    The organization MOVIR (Movimiento de Victimas del Régimen de Excepción, or Movement of
          Victims of the Regimen of Exception) has corroborated that a considerable number of the deaths
          evaluated so far have been a result of physical attacks of various kinds carried out by state agents,
          in addition to “beatings inflicted by other prisoners with acquiescence of the prison authorities.” 53

   48.    The testimony of Professor Mario Alberto Martínez, who was arrested and detained after making a
          public statement denouncing the arbitrary detention of his daughter, includes the account of his
          being in a highly overcrowded cell where inmates were not allowed to speak or even to pray.
          When three boys were caught talking, the guards removed them from the cell and beat them until
          they appeared to be dead. Martinez reports that “people died every day” while he was in prison. 54

   49.    Even the deaths described by medical legal obituaries as nonviolent have in some cases involved
          cadavers that show forensic evidence of torture. One 45-year-old man with an intellectual
          disability died in prison and was buried by the state in a mass grave with a legal obituary that
          showed he died from a “pulmonary edema.” However, photographic evidence of the cadaver
          showed edemas of his face, and interviews with individuals detained in the same prison reveal that
          he was beaten so severely that he lost mobility including the ability to eat. 55 Others have been
          released from prison in such severe physical states that they have died within days of release
          because of injuries they sustained in prison; they are not counted among the numbers of deaths in
          prison. 56


49
   Amnesty International. “Behind the veil of popularity: Repression and regression of human rights in El Salvador.” 5 December
2023. https://www.amnesty.org/en/latest/news/2023/12/el-salvador-policies-practices-legislation-violate-human-rights/. p 33.
50
   “El Salvador’s Prison State.” Fault Lines, Al Jazeera English. May 24, 2023. https://www.aljazeera.com/program/fault-
lines/2023/5/24/el-salvadors-prison-state
51
   Bryan Avelar. “Inmates in El Salvador tortured and strangled: A report denounces hellish conditions in Bukele’s prisons.” El
Pais. 29 May 2023. https://english.elpais.com/international/2023-05-29/inmates-in-el-salvador-tortured-and-strangled-a-report-
denounces-hellish-conditions-in-bukeles-prisons.html
52
   United Nations Office on Drugs and Crime (UNODC). “Global prison population and trends. A focus on rehabilitation.” 15
August 2024. https://www.cdeunodc.inegi.org mx/index.php/2024/08/15/global-prison-population-and-trends-a-focus-on-
rehabilitation/; The figure of 366 deaths among an inmate population of 83,000 translates to a ratio of 404.82 deaths per 100,000,
a rate 69.8 times greater than the international violent death rate of 5.8 per 100,000.
53
   Amnesty International. “Behind the veil of popularity: Repression and regression of human rights in El Salvador.” 5 December
2023. https://www.amnesty.org/en/latest/news/2023/12/el-salvador-policies-practices-legislation-violate-human-rights/. P 33.
54
   Williams Sandoval. ““Vi cuando llevaban gente tiesa; todos los días moría gente”: así narra un profesor su paso por las
cárceles del régimen de excepción.” La Prensa Grafica. 14 June 2024. https://www.laprensagrafica.com/elsalvador/Vi-cuando-
llevaban-gente-tiesa-todos-los-dias-moria-gente-asi-narra-un-profesor-su-paso-por-las-carceles-del-regimen-de-excepcion-
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   Bryan Avelar. “Inmates in El Salvador tortured and strangled: A report denounces hellish conditions in Bukele’s prisons.” El
Pais. 29 May 2023. https://english.elpais.com/international/2023-05-29/inmates-in-el-salvador-tortured-and-strangled-a-report-
denounces-hellish-conditions-in-bukeles-prisons.html
56
   Cristosal. “One Year Under the State of Exception.” May 2023. https://cristosal.org/EN/2023/08/17/report-one-year-under-the-
state-of-exception/ p 53.

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     50.   It sometimes takes several months for family members to learn of the death of a loved one in
           prison, as was the case for a 76-year-old woman who was arrested in April 2022, died while in
           custody the following November, and was buried in a mass grave. Her children were not advised
           of her death and continued to send care packages to the prison until February 2023 when a lawyer
           told them their mother would be released on bail if they paid $3,000. When they arrived at the
           prison to deliver one last care package before their mother’s release, guards told them she had
           been dead for months. 57

              Governmental Attempts to Obscure the Visibility of Human Rights Violations

     51.   Public access to national data is a central tenet of democracy that has been severely curtailed under
           Bukele as a means of maintaining popularity while allowing widespread human rights abuses to be
           committed out of public view. The government of El Salvador is intentionally restricting access to
           previously publicly available information especially as related to the police and military, prisoners,
           and the judiciary. As a result, it is becoming increasingly difficult for academics, NGOs, and other
           governments to access the information and statistics that would reveal the full scope of the
           disregard for human rights taking place in El Salvador. To produce evidence that is statistically
           significant instead of just anecdotal in this repressive context requires a coordinated approach to
           identify patterns and fidelity among pockets of available data in the rapidly unfolding human
           rights crisis.

     52.   As I and my coauthors in a 2023 report in Columbia University’s Regional Expert Series explain,
           President Bukele’s government has attempted to prevent public knowledge of continuing and
           widespread human rights abuses through strategies that include (1) denying outsiders access to the
           prisons, including the Salvadoran Human Rights Ombudsman’s Office; (2) criminalizing the
           media and threatening journalists; (3) subjecting family members of the detained to threats of
           arrest if they speak publicly of their loved ones’ experiences; and (4) routinely charging that
           individuals and groups who expose the abuses associated with the State of Exception are
           supporters of gang members and terrorists, in some cases leading to their imprisonment. 58


     53.   Though international NGOs have been working for all three years of the State of Exception to
           document and corroborate widespread claims of human rights abuses taking place in El Salvador,
           this work is made highly difficult and sometimes impossible by the government’s resistance. As
           described by Amnesty International in December 2023, “It is not possible to obtain official
           statistics such as the number of prisoners, overcrowding rate at detention centres, deaths of
           prisoners, number of crimes, [and] whether abuses of force by public security agents are being
           recorded and disciplined, among other citizen security variables used to monitor and assess the
           security situation and state of emergency.” 59 Likewise, clandestine graves discovered in El
           Salvador are deemed by Bukele’s government as matters of national security and the identities of
           their contents classified.



57
   “Relato: Las mentiras de un abogado y el deterioro en el penal le costaron la vida a Rosa.” La Prensa Grafica. 11 February
2023. https://www.laprensagrafica.com/elsalvador/Relato-Las-mentiras-de-un-abogado-y-el-deterioro-en-el-penal-le-costaron-la-
vida-a-rosa-20230210-0095.html
58
   Sarah Bishop, Tommie Sue Montgomery, and Tom Boermann. “Behind the Glowing Headlines: Social Science Analysis of
the State of Exception in El Salvador” CeMeCA’s Regional Expert Series No. 9, 2023.
59
   Amnesty International. “Behind the veil of popularity: Repression and regression of human rights in El Salvador.” 5 December
2023. https://www.amnesty.org/en/latest/news/2023/12/el-salvador-policies-practices-legislation-violate-human-rights/ p 64.

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     54.   The State Department’s 2023 Human Rights Report on El Salvador explicitly remarks on the
           invisibility of and lack of access to national data: “Human rights groups observed that the
           government increasingly declined to make public data for monitoring and analysis purposes. Gato
           Encerrado, an investigative newspaper, noted the government continued to expand the types of
           information it classified as confidential and not subject to public disclosure requirements.” 60
           Without reliable access to national data, neither the State Department nor any other concerned
           party can provide a more exhaustive view of country conditions that would be possible in more
           democratic contexts.

     55.   There are increasing instances of the government blatantly obscuring evidence of state violence.
           For example, the Attorney General of El Salvador claims to have investigated 143 deaths in prison
           during the State of Exception and found that every one of the 143 was due to pre-existing
           conditions or natural causes. However, the U.S. State Department Human Rights report released in
           2024 offers evidence from sources including Socorro Jurídico Humanitario, Cristosal, and El Pais
           determining through forensic evidence dozens of violent deaths in prison including those where
           prison guards beat inmates to death. 61 What the U.S. State Department calls “systemic abuse in the
           prison system” is effectively denied by the Salvadoran State.

     56.   The government’s clampdown on information related to human rights appears to be devolving.
           Whereas the 2022 U.S. State Department Human Rights report on El Salvador revealed that “The
           government reported varying numbers of disappearances and sporadically declined to provide
           media with numbers and additional data on disappearances, often claiming the statistics were
           classified,” 62 the report from the following year explains that the Minister of Justice and Public
           Security had announced the total suspension of investigations into disappearances. 63 These kinds
           of data would be more readily available in more democratic contexts and offer evidence of El
           Salvador’s sharp democratic decline.

     57.   To create an illusion of improving country conditions with respect to gang violence, Bukele relies
           on rhetorical strategies that include selectively revealing and concealing national data. 64 The Inter-
           American Commission on Human Rights (IACHR) has criticized the Salvadoran State for “a lack
           of access to statistical data and official records on violence and crime from the Attorney General's
           Office and the Institute of Forensic Medicine, as well as other data from the PNC [National Civil
           Police], making it difficult to verify, contrast, and analyze information on citizen security.” 65
           IACHR notes the “absence of updated official data on incidents of injured or dead persons related
           to police or Armed Force officers that could be construed as human rights violations.” 66 In other



60
    “El Salvador 2023 Human Rights Report.” US Department of State. https://www.state.gov/reports/2023-country-reports-on-
human-rights-practices/el-salvador/ p 27.
61
    Ibid, p 2.
62
    “El Salvador 2022 Human Rights Report.” US Department of State https://www.state.gov/reports/2022-country-reports-on-
human-rights-practices/el-salvador/ p 3.
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    “El Salvador 2023 Human Rights Report.” US Department of State. https://www.state.gov/reports/2023-country-reports-on-
human-rights-practices/el-salvador/ p 4.
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    Parker Asmann. “El Salvador to Omit Key Data from Official Homicide Tally.” Insight Crime. 18 July 2019.
https://insightcrime.org/news/brief/el-salvador-omit-key-data-homicides/; Sarah C. Bishop. “An Illusion of Control: How El
Salvador’s President Rhetorically Inflates His Ability to Quell Violence.” Journalism and Media, 4, no. 1 (2023): 16-29.
65
   Inter-American Commission on Human Rights. “Follow-up of Recommendations Issued by the IACHR in its Country or
Thematic Reports: El Salvador.” 2022. https://www.oas.org/en/iachr/docs/annual/2022/Chapters/12-
IA2022_Cap_5_El_Salvador_EN.pdf. p 874.
66
    Ibid., p 876.

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          words, the state has repeatedly refused to provide the information that would be necessary to know
          the full scope of and prosecute instances of police and military violence.

   58.    Americas Director for Amnesty International Ana Piquer reported in March 2024 that “the denial,
          minimization and concealment of reported serious human rights violations reflect the
          government’s unwillingness to fulfil its duty to respect and promote human rights in the
          country.” 67 By strategically concealing both the nature and scope of human rights abuses taking
          place, the government of El Salvador has managed to mitigate international awareness.

                                    Gang Activity During the State of Exception

   59.    Publicly visible gang activity outside the prisons has quieted during the State of Exception, though
          gang violence inside the prisons subsists. 68 Since 2004, a practice had been in place to hold
          members of the two most powerful gangs in El Salvador, MS-13 and Barrio 18, in separate prisons
          in a measure designed to prevent both rival inter-gang violence and violence between gang
          members and civilians. Former Salvadoran Security Minister Bertrand Galindo explained, “The
          point was that if we left them in the same facilities, with the level of violence that was occurring
          and the weakness of the infrastructure, the state was not going to be able to prevent them from
          killing each other.” 69 Bukele changed this policy in 2020 and reaffirmed on Twitter during the
          opening of his new 2023 mega-prison that gang members would be mixed together and held for
          decades 70—a change certain to result in violence between the gangs and indicative of the
          Salvadoran state’s determination not to protect its detained citizens from harm at the hands of the
          gangs.

   60.    The high probability of violent gang activity in prisons during the State of Exception in El
          Salvador since the policy changed has been confirmed by a range of instances such as a January
          2025 riot in Izalco prison in which active gang members mixed together in a cell with retired gang
          members reportedly attacked each other using iron bars they had removed from their beds,
          resulting in at least three deaths. 71 Two weeks after the riot, three inmates from Izalco prison died
          in hospitals; the families of the deceased were informed that the cause of their deaths was
          “illness.” 72




67
   Amnesty International. “El Salvador: The institutionalization of human rights violations after two years of emergency rule.” 27
March 2024. https://www.amnesty.org/en/latest/news/2024/03/el-salvador-two-years-emergency-rule/
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   “El Salvador 2022 Human Rights Report.” U.S. Department of State. https://www.state.gov/reports/2022-country-reports-on-
human-rights-practices/el-salvador/ p 5.
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   Roberto Valencia. “How El Salvador Handed its Prisons to the Mara Street Gangs.” InsightCrime 3 September 2014.
https://insightcrime.org/news/analysis/how-el-salvador-handed-its-prisons-to-the-
gangs/#:~:text=On%20September%202%2C%202004%20the,active%20gang%20members%20call%20pesetas.
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   Bukele, Nayib (@NayibBukele). 2023. Twitter, February 24, 2023. Translated from Spanish by Sarah C. Bishop.
https://twitter.com/nayibbukele/status/1629165213600849920.
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   David Bernal, Cindy Castillo y Claudia Espinoza. “Pedirán una investigación por motín en penal de Izalco.” La Presna
Grafica. 10 January 2025. https://www.laprensagrafica.com/elsalvador/Pediran-una-investigacion-por-motin-en-penal-de-Izalco-
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   Oscar Reyes. “Reos de penal de Izalco mueren en hospitals.” 28 January 2025. La Prensa Grafica.
https://www.laprensagrafica.com/elsalvador/Reos-de-penal-de-Izalco-mueren-en-hospitales-20250128-0083 html

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     61.   Bukele’s failure to protect detainees from gang violence has been widely criticized by human
           rights organizations. Director for the Americas at Human Rights Watch José Miguel Vivanco
           stated that not separating gang-affiliated detainees from each other or from other detainees showed
           the government’s “wickedness and cruelty;” 73 the Human Rights Commission of El Salvador
           stated that the practice “carries a total risk of mutinies or selective or collective murders.” 74 Still,
           much of the news reporting on Bukele’s change in procedure referenced the country’s general
           prison overcrowding, as though the move was an inevitable reality in a national context where the
           prison population was already double its stated capacity. The fact that Bukele reiterated his
           intention to mix gang members together in the announcement of the opening of the new mega-
           prison that was promised to solve the issue of overcrowding reveals this practice as a deliberate
           strategy in knowing acquiescence to the violence likely to result rather than an unfortunate
           necessity.

     62.   In practice, this means that Salvadoran citizens, many of whom have been arrested arbitrarily,
           continue to be victim to gang control and authority even while detained. In some prisons, MS-13
           and Barrio 18 are designating leaders of crowded cells to set cell rules and determine who receives
           food and water. Breaking the gang’s rules may result in physical beatings. 75

                                                     Conclusion

     63.   Deportees who are imprisoned in El Salvador are highly likely to face immediate and intentional
           life-threatening harm at the hands of state actors and a secondary threat of violence from
           incarcerated gang members.
                                  ___________________________________________



                                                      Signature

I declare under penalty of perjury that the foregoing is true and correct to best of my knowledge.


                                                          March 19, 2025

Signature                                                 Date




74
   Marcos González Díaz. “Bukele contra las maras: las impactantes imágenes con las que El Salvador anunció que juntó a
presos de diferentes pandillas en las celdas para combatir la violencia.” BBC News Mundo. 28 April 2020.
https://www.bbc.com/mundo/noticias-america-latina-52450557
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   Stephen Dudley et al. “El Salvador’s (Perpetual) State of Emergency: How Bukele’s Government Overpowered Gangs.”
December 2023. https://insightcrime.org/investigations/el-salvador-perpetual-state-emergency-how-bukele-government-
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6.

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